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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                  CIVIL PRETRIAL MINUTES

                                   JUDGE WILLIAM ALSUP


Date: April 20, 2011                                     Total Hearing Time: 1 hour 35 minutes

Case No. C10-03561 WHA

Title: ORACLE AMERICA, INC. v. GOOGLE INC.

Plaintiff Attorney(s): Marc Peters; Andrew Temkin;; Roman Swoopes; Michael Jacobs

Defense Attorney(s): Renny Hwang; Bruce Baber; Scott Weingaertner; Steven Snyder; Brian Banner

Deputy Clerk: Dawn Toland                       Court Reporter: Lydia Zinn


                                   PROCEEDINGS

1)   Claims Construction Hearing - HELD

2)



Continued to    for Further Case Management Conference
Continued to    for Pretrial Conference
Continued to    for Trial

ORDERED AFTER HEARING:
